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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION

JACQUELYN LISICKI,

       Plaintiff,
                                             Case Number ____________
v.

LEE MEMORIAL HEALTH SYSTEM,

     Defendant.
____________________________________/

                        Complaint & Jury Demand

       1.    The Plaintiff, Jacquelyn Lisicki, sues Defendant, Lee

Memorial Health System, for age discrimination in violation of the

Age Discrimination in Employment Act (ADEA) and the Florida

Civil Rights Act (FCRA).

       2.    Defendant operates four acute care hospitals in Lee

County, Florida.

       3.    HealthPark Medical Center is one of four acute care

hospitals within Defendant’s organization.



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      4.    Plaintiff worked for Defendant at HealthPark Medical

Center from on or about 2009 to 2017.

      5.    Defendant employs over 500 employees.

      6.    The Honorable Court has original jurisdiction over the

federal count pursuant to 28 U.S.C. § 1331 and supplemental

jurisdiction over the state count pursuant to 28 U.S.C. § 1367.

      7.    Venue is appropriate in Fort Myers as Plaintiff worked

for Defendant in Lee County, Florida.

      8.    Defendant is obligated to abide by both the ADEA and

FCRA.

      9.    Plaintiff is over the age of 70.

      10.   Plaintiff was an employee in good standing.

      11.   On or about February 7, 2016, Plaintiff was terminated

because of her age.

      12.   Defendant replaced Plaintiff with an employee that was

more than 25 years Plaintiff’s junior.




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      13.    Plaintiff filed a charge of discrimination with the EEOC

within 300 days of suffering an adverse employment action.

      14.    The charge was dually filed.

      15.    The EEOC conducted an investigation.

      16.    On June 7, 2019, the EEOC issued a right to sue letter.

      17.    Plaintiff received the notice of right to sue on or about

June 11, 2019.

      18.    This lawsuit is being filed within 90 days of receiving the

right to sue letter.

      19.    This lawsuit is being filed within four years of Plaintiff

being terminated.

      20.    All administrative prerequisites to filing suit have been

exhausted.

      21.    Plaintiff was not a temporary employee.

      22.    Plaintiff worked for Defendant for 8 ½ years.

      23.    Plaintiff’s schedule was determined a year in advance.




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       24.   Defendant treated Plaintiff less favorably than it treated

similarly situated employees.

       Count I - ADEA

       25.   Plaintiff reincorporates paragraphs 1 through 24 as if

fully stated herein.

       26.   Defendant terminated Plaintiff because of her age.

       27.   Plaintiff was willing and able to continue in her position

from the time she was terminated through the present (and likely

beyond).

       28.   Plaintiff wanted, at minimum, to maintain her position

moving forward.

       29.   However, Defendant wanted younger employees to

handle the work.

       30.   Immediately after Plaintiff was terminated Defendant

gave her job duties to an employee in her forties.

       31.   Defendant pushed Plaintiff out of her job because of her

age.


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      32.   Defendant was aware of the ADEA.

      33.   Defendant willfully violated the ADEA.

      Wherefore, Plaintiff demands trial by jury, judgment, back pay,

liquidated damages, reinstatement, attorneys’ fees, costs and any

other relief the Honorable Court deems appropriate and just.

      Count II - FCRA

      34.   Plaintiff reincorporates paragraphs 1 through 24 as if

fully stated herein.

      35.   Plaintiff was an employee in good standing.

      36.   Defendant terminated Plaintiff because of her age.

      37.   Immediately after Plaintiff’s termination Defendant

assigned Plaintiff’s work to an employee in her forties.

      38.   Defendant pushed Plaintiff out due to her age.

      39.   Plaintiff would have continued to work if she was not

harassed, discriminated and terminated for being in her seventies.

      40.   Defendant’s attempts to terminate Plaintiff caused

Plaintiff loss of sleep, stress and physical pain.


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      41.    Plaintiff has suffered harm as a result of losing her job

due to her age.

      42.    Defendant’s commercial enterprise continued to grow

during 2017 and 2018.

      43.    There was no economic basis for the termination of

Plaintiff.

      44.    Defendant was aware of the FCRA when it fired Plaintiff.

      45.    Defendant willfully violated the FCRA by harassing,

discriminating and terminating Plaintiff.

      46.    But for the fact that Plaintiff is over the age of seventy she

would have been employed by Defendant and receiving equal pay

for equal work as well as benefits.

      Wherefore, Plaintiff demands trial by jury, judgment, back pay,

compensatory damages, all available statutory damages,

reinstatement, attorneys’ fees, costs and any relief the court deems

appropriate and just.




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  Respectfully submitted this 5th day of September 2019,

                                /s/ Bernard R. Mazaheri____ __
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